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              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN


 MARY LOU PETT, KATHLEEN FICK-
 GEE, DIANE BRYCE, PATTI                    Case No. 2:22-cv-11389-DPH-EAS
 DELVALLE, MICHELLE HOLCOMB,                Hon. Denise Page Hood
 KIM READUS, ALICE REESE, ERIKA
 VAN ALLER, and LINDA WHITE,                Mag. Elizabeth A. Stafford
 individually and on behalf of all others
 similarly situated,
                   Plaintiffs,
       v.

 PUBLISHERS CLEARING HOUSE, INC.,
                   Defendant.


             PLAINTIFFS’ MOTION FOR LEAVE TO FILE
                REPLY IN SUPPORT OF PLAINTIFFS’
            MOTION FOR RECONSIDERATION (ECF No. 47)
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      Plaintiffs, individually and on behalf of all others similarly situated, file this

Motion for Leave to File Reply in Support of Plaintiffs’ Motion for Reconsideration

(ECF No. 47):

      1.     On May 23, 2023, the Court granted Defendant’s Motion to Dismiss1

in part, granting it with respect to disclosures of Private Purchase Information to any

third-parties not specifically identified in the Second Amended Complaint (finding

such disclosures “speculative”), denying the Motion in part with respect to

disclosures of Private Purchase Information to NextMark, Inc. and List Services

Corp., and ordering that “any discovery shall be limited to only the named

Plaintiffs.” Order, ECF No. 44, PageID.3393-94.

      2.     On June 9, 2023, Plaintiffs filed their Motion for Reconsideration, in

which Plaintiffs argued that the Court should reconsider the portions of its Order

granting Defendant’s Motion with respect to unnamed third-parties and limiting

discovery “to only the named Plaintiffs.” ECF No. 47, PageID.3402.

      3.     On April 3, 2024, the Court issued an order requiring Defendant to

respond to Plaintiffs’ Motion for Reconsideration by April 19, 2024. ECF No. 53.

      4.     On April 19, 2024, Defendant filed its Response. ECF No. 54.




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    ECF No. 25, seeking to dismiss the Second Amended Class Action
Complaint, ECF No. 22.

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      5.     Upon review of Defendant’s Response, Plaintiffs believe that it is

imperative for the Court to be provided with further context responsive to

Defendant’s Response.

      6.     The Local Rules of the Eastern District of Michigan do not permit the

filing of a response to a motion for reconsideration unless the court orders otherwise,

let alone a reply brief. E.D. Mich. LR 7.1(h)(3).

      7.     Given the foregoing, Plaintiffs understand that leave of court should be

sought prior to filing a reply brief here.

      8.     As such, Plaintiffs’ file this Motion for Leave to File a Reply in Support

of Plaintiffs’ Motion for Reconsideration.

      9.     With the Court having required the filing of a response to Plaintiffs’

Motion, it should likewise provide Plaintiffs, as the moving party, with the

opportunity to file a reply brief responsive to Defendant’s Response.

      10.    The proposed Reply addresses issues raised in Defendant’s opposition

brief and will be helpful to the Court in deciding the motion at issue.

      11.    The proposed Reply is attached hereto as Exhibit 1.

      12.    On May 13, 2024, counsel for Plaintiffs communicated with counsel

for Defendant regarding concurrence in this motion. Defendant stated that it opposes

the relief requested by way of this Motion.




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      WHEREFORE, Plaintiffs request that the Court grant Plaintiffs’ Motion for

leave to file the attached Reply in Support of Plaintiffs’ Motion for Reconsideration.

Dated: May 13, 2024                    Respectfully submitted,

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                                       Counsel for Plaintiffs and the Putative Class




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                          CERTIFICATE OF SERVICE

      I hereby certify that on May 13, 2024, I electronically filed the foregoing

documents using the Court’s electronic filing system, which will notify all counsel

of record authorized to receive such filings.


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